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                                UNITED STATES BANKRUPTCY COURT
                                   DISTRICT OF SOUTH CAROLINA

    IN RE:                                                   )
                                                             )             CASE NO. 21-02909-hb
    THE MUFFIN MAM, INC.,                                    )
                                                             )                   Chapter 7
                          Debtor.                            )
                                                             )

                 OBJECTION TO CREATIVE BAKERY SOLUTIONS, LLC’S
                         (A) NOTICE OF RECLAMATION AND
           (B) AMENDED MOTION FOR RELEIF FROM THE AUTOMATIC STAY

           NOW COMES, Pinnacle Bank (“Pinnacle”), a creditor and party in interest in the above-

captioned proceeding, by and through its undersigned attorneys, and hereby objects to (a) the

Notice of Reclamation of Creative Bakery Solutions (Dkt. No. 39, the “Notice”) and (b) Creative

Bakery Solutions, LLC’s (“Creative Bakery’s”) Amended Motion for Relief from the Automatic

Stay (Dkt. No. 42, the “Motion”). As set forth in more detail below, Pinnacle—which is the

Debtor’s senior secured lender—objects to any attempt by Creative Bakery to take possession of

any portion of Pinnacle’s collateral, which is subject to Pinnacle’s senior blanket lien. In support

of its objection, Pinnacle states as follows:

                                                BACKGROUND

           1.      Prior to the Petition Date (as defined below), the Debtor was a manufacturer of

baked goods, operating from a leased facility in Simpsonville, South Carolina.

           2.       On November 9, 2021 (the “Petition Date”), the Debtor filed a petition for relief

under chapter 7 of the United States Bankruptcy Code, 11 U.S.C. § 101 et seq. (the “Bankruptcy

Code”).1 John K. Fort (the “Trustee”) has been appointed as the chapter 7 trustee in the Debtor’s

case.


1
    Subsequent references to the Bankruptcy Code are by section number only.



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       3.      Pinnacle holds claims against the Debtor pursuant to that certain Bond Purchase

and Loan Agreement dated as of March 1, 2019, (as the same have been or may be amended,

supplemented, extended, restated, replaced, amended and restated or otherwise modified from time

to time, the “Bond Purchase Agreement”) and Revolving Credit Note dated as of March 15, 2019,

(as the same have been or may be amended, supplemented, extended, restated, replaced, amended

and restated or otherwise modified from time to time, the “Note”). Copies of the Bond Purchase

Agreement and the Note are attached hereto as Exhibits A and B, respectively.

       4.      As of the Petition Date, the payoff due Pinnacle under the Bond Purchase

Agreement was not less than $9,695,107.92 and payoff under the Note was $4,010,444.44,

resulting in total prepetition claims by Pinnacle against the Debtor of not less than $13,705,552.36.

       5.      The Bond Purchase Agreement and the Note are each subject to that certain Credit

and Security Agreement dated as of March 15, 2019, (as the same have been or may be amended,

supplemented, extended, restated, replaced, amended and restated or otherwise modified from time

to time, the “Credit Agreement”) between Pinnacle and the Debtor, a copy of which is attached

hereto as Exhibit C.

       6.      The Credit Agreement provides, among other things, for the Debtor’s obligations

under the Bond Purchase Agreement and the Note to be secured by a lien on all personal property

of the Debtor, including but not limited to the Debtor’s equipment, fixtures, inventory, goods,

deposit accounts, and accounts receivable (the “Collateral”).

       7.      Pinnacle’s security interest in the Collateral was perfected by the filing of the

following with the South Carolina Secretary of State: (a) a UCC-1 financing statement filed on

July 17, 2018; (b) a UCC-3 financing statement amendment filed on July 18, 2018; and (c) a UCC-




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1 financing statement filed on March 15, 2019. Copies of the UCC filings are attached as Exhibit

D.

        8.       By any measure, Lender’s claims against the Debtor—which total at least $13.7

million—are substantially undersecured. Lender obtained an appraisal, a copy of which is attached

as Exhibit E, effective as of the Petition Date which estimates the orderly liquidation value of the

Debtor’s physical assets at $2,560,000.00, and records furnished by the Debtor, copies of which

are attached as Exhibit F, indicate that the value of the Debtor’s prepetition accounts receivable

were approximately $1,630,000.00.

        9.       On November 23, 2021, Pinnacle moved for relief from the automatic stay as to its

Collateral (Dkt. No. 11) and for an expedited hearing on its motion (Dkt. No. 12). In accordance

with the Court’s order (Dkt. No. 13) granting an expedited hearing on Pinnacle’s motion, notice

of Pinnacle’s motion and the order granting expedited hearing were served on Creative Bakery’s

counsel in Colorado, Rene Capron, via email on November 23 (see Dkt. No. 14).

        10.      An expedited hearing was held on Pinnacle’s motion on November 30, 2021, and

an order granting Pinnacle’s motion (Dkt. No. 28) was entered on the same date.

        11.      On December 3, 2021, Creative Bakery filed the Notice, which pursuant to 11

U.S.C. § 546(c) requests an order allowing Creative Bakery to reclaim certain goods sold and

delivered to the Debtor on credit during the forty-five days prior to the Petition Date (as defined

in the Notice, the “Goods”).

        12.      On December 7, 2021, Creative Bakery filed the Motion, which requests relief from

the automatic stay so that it can reclaim the Goods.2




2
 Creative Bakery filed a prior version of the Motion on December 6, 2021 (Dkt. No. 41). To the extent required,
Pinnacle’s objection extends to the original version of the Motion as well.



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        13.    The Certification of Facts accompanying the Motion states, among other things,

that the Senior Liens on the Goods are “None.”

                                           OBJECTION

        To the extent that Creative Bakery asserts that its reclamation interest in the Goods are in

any way superior to Pinnacle’s blanket lien, Pinnacle objects, as any such position is completely

inconsistent with the clear provisions of both the Uniform Commercial Code and the Bankruptcy

Code.

        11 U.S.C. § 546(c) explicitly recognizes that the rights of reclamation creditors are “subject

to the prior rights of a holder of a security interest in such goods.” 11 U.S.C. § 546(c); Whirlpool

Corp. v. Hhgregg, Inc. (In re Hhgregg, Inc.), 578 B.R. 814, 819 (Bankr. S.D. Ind. 2017) (“As

amended, § 546(c)(1) explicitly renders an otherwise valid reclamation claim under state law

subordinate to a secured creditor's prior lien rights”); In re Circuit City Stores, Inc., 441 B.R. 496,

509 (Bankr. E.D. Va. 2010) (holding that § 546(c) makes it clear that reclamation claims are

subordinate to the prior rights of a holder of a security interest in the subject goods); Lawrence

Ponoroff, Reclaim This! Getting Credit Seller Rights in Bankruptcy Right, 48 U. Rich. L. Rev.

733, 754 (“the case law under former section 546(c) holding that the reclamation claim is subject

to a prior security interest that attaches to the goods is expressly codified”). In addition, 11 U.S.C.

§ 546(h) recognizes that the rights of a debtor that seeks to return goods that are the subject of a

reclamation claim are similarly subject to the rights of a secured creditor holding a prior perfected

security interest in those goods. 11 U.S.C. § 546(h) (trustee’s right to return goods shipped to

debtor prior to filing of case “subject to the prior rights of holders of security interests in such

goods or the proceeds of such goods”).




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        This statutory recognition is a Congressional effort to clarify the rights and priorities of the

competing claims of reclamation creditors and the holders of prior perfected security interests in

the same goods. A secured lender who holds a floating lien on the debtor’s property holds a secured

interest in all of the debtor’s inventory such that “a reclaiming seller is entitled to a lien or

administrative expense claim only to the extent the value of the specific inventory is which the

reclaiming sellers asserts an interest exceeds the amount of the floating lien in the debtor’s

inventory.” In re Dana Corp., 367 B.R. 409, 419 (Bankr. S.D.N.Y. 2007) (quoting In re

Pittsburgh-Canfield Corp., 309 B.R. 277, 287 (6th Cir. B.A.P. 2004)); see also In re Primary

Health Sys., Inc., 258 B.R. 111, 117 (Bankr. D. Del. 2001) (“[U]nder state law, reclaiming seller

would not have been able to reclaim its goods if the goods were not worth more than the value of

the floating lien because the holder of the first lien could have asserted its rights and been entitled

to all of the inventory.”). In short, “if the value of any given reclaiming supplier’s goods does not

exceed the amount of debt secured by the prior lien, that reclamation claim is valueless.” In re

Dana Corp., 367 B.R. at 419. Here, because Pinnacle’s secured claims are greatly undersecured,

there is no remaining value for reclamation claims such as Creative Bakery’s.

        Pinnacle’s rights vis-à-vis reclamation creditors such as Creative Bakery are also set forth

under the Uniform Commercial Code as enacted by South Carolina, S.C. Code Ann. § 36-1-101,

et seq. (the “UCC”).3 Under S.C. Code Ann. §§ 36-9-308(a) and 36-9-310(a), a security interest in

the Collateral such as the inventory and goods the Debtor granted Pinnacle is perfected by the

filing of a financing statement. Under S.C. Code Ann. § 36-9-322(a)(1) and (2), priority in

perfected security interests is governed by time of filing, and a perfected security interest has



3
  Because the Debtor is a “registered organization” organized under South Carolina law, the Debtor is deemed to be
located in South Carolina, and therefore the law of South Carolina governs regarding priority of interests in the
Debtor’s property. See S.C. Code Ann. §§ 36-9-102(a)(71), 36-9-301(1), and 36-9-307(e).



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priority over any unperfected interest. Pinnacle filed its final UCC financing statement against the

Debtor on March 15, 2019, and thus it is uncontroverted that Pinnacle’s security interest in its

Collateral—including the Debtor’s inventory and goods—has been perfected since at least that

time, well before any reclamation claim of Creative Bakery arose. As a floating lien, Pinnacle’s

security interested extended to after-acquired collateral upon the Debtor acquiring rights in the

after-acquired collateral. See S.C. Code Ann. § 36-9-203. 4

        It is also clear that the UCC reclamation rights of any seller of goods to the Debtor during

the period in which the Debtor was insolvent are subject to and subordinate to Pinnacle’s prior,

perfected security interest in the Collateral. S.C. Code Ann. § 36-2-702, which provides the UCC

basis for reclamation claims, provides—in relevant part—as follows:

        (2) Where the seller discovers that the buyer has received goods on credit while
        insolvent he may reclaim the goods upon demand made within ten days after the
        receipt, but if misrepresentation of solvency has been made to the particular seller
        in writing within three months before delivery the ten day limitation does not apply.
        Except as provided in this subsection the seller may not base a right to reclaim goods
        on the buyer's fraudulent or innocent misrepresentation of solvency or of intent to
        pay.

        (3) The seller's right to reclaim under subsection (2) is subject to the rights of a
        buyer in ordinary course or other good faith purchaser or lien creditor under this
        chapter (Section 36-2-403). Successful reclamation of goods excludes all other
        remedies with respect to them.


4
 S.C. Code Ann. § 36-9-203, which governs attachment and enforceability of security interests, provides in relevant
part:
        (a) A security interest attaches to collateral when it becomes enforceable against the debtor with
        respect to the collateral, unless an agreement expressly postpones the time of attachment.
        (b) Except as otherwise provided in subsections (c) through (i), a security interest is enforceable
        against the debtor and third parties with respect to the collateral only if:
            (1) value has been given;
            (2) the debtor has rights in the collateral or the power to transfer rights in the collateral to a
            secured party; and
            (3) one of the following conditions is met:
                 (A) the debtor has authenticated a security agreement that provides a description of the
                 collateral and, if the security interest covers timber to be cut, a description of the land
                 concerned; …


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(emphasis added). Thus, the UCC makes clear that while a seller may have a reclamation right,

that right is subject to the superior rights of a lien creditor. In light of the express provision

contained in the UCC, it is clear that by virtue of its floating security interest in the Debtor’s

inventory and goods, Pinnacle is entitled to priority vis-à-vis any sellers of goods to the Debtor

such as Creative Bakery that might assert reclamation claims under S.C. Code Ann. § 36-2-702

and/or 11 U.S.C. § 546(c).

                                         CONCLUSION

      Because Pinnacle has a prior perfected security interest in all of the Debtor’s personal

property, including all goods that may have been delivered to the Debtor within 45 days prior to

the Petition Date, the reclamation rights of any creditor such as Creative Bakery that supplied those

goods are subject to Pinnacle’s senior security interest. Accordingly, Pinnacle objects to the Notice

and the Motion and respectfully submits that the relief sought in each should be denied.

Alternatively, to the extent that either is granted/allowed, the order granting such relief should

expressly provide that the Goods are subject to Pinnacle’s security interest.



                                              Respectfully submitted,

                                              MOORE & VAN ALLEN, PLLC

                                              /s/ Reid E. Dyer
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                                              Reid E. Dyer (SC DCID No. 10723)
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                                              ATTORNEYS FOR PINNACLE BANK
December 20, 2021
Charleston, SC



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                          UNITED STATES BANKRUPTCY COURT
                             DISTRICT OF SOUTH CAROLINA

 IN RE:                                             )
                                                    )            CASE NO. 21-02909-hb
 THE MUFFIN MAM, INC.,                              )
                                                    )                    Chapter 7
                      Debtor.                       )
                                                    )

                                 CERTIFICATION OF FACTS

In the above-entitled proceeding, in which relief from the automatic stay is sought by Creative
Bakery Solutions, LLC, from the automatic stay provided by 11 U.S.C. § 362, I do hereby certify
to the best of my knowledge the following:

(1) Nature of Movant’s Interest. Pinnacle Bank holds a senior perfected security interest in all the
Debtor’s personal property, including the cake mixes as to which Movant seeks relief from stay.

(2) Brief Description of Security Agreement, copy attached (if applicable).
Pinnacle Bank’s security agreement is the Credit and Security Agreement dated as of March 15,
2019, a copy of which is attached as Exhibit C.

(3) Description of Property Encumbered by Stay (include serial number, lot and block number,
etc.). Pinnacle Bank holds a senior security interest in all of the Debtor’s personal property,
including the cake mixes as to which Movant seeks relief from stay.

(4) Basis for Relief (property not necessary for reorganization, debtor has no equity, property not
property of estate, etc.) include applicable subsection of 11 U.S.C. § 362). Pinnacle Bank disputes
that cause exists to grant Movant relief from the automatic stay in order to reclaim the subject cake
mixes because the same is subject to Pinnacle Bank’s perfected security interest.

(5) Prior Adjudication by Other Courts, copy attached (Decree of Foreclosure, Order for
Possession, Levy of Execution, etc., if applicable). Order Modifying Automatic Stay entered as
Dkt. No. 28 in this case, which granted Pinnacle Bank relief from stay as to all of its collateral.

(6) Valuation of Property, copy of Valuation attached (Appraisal, Blue Book, etc.): Pinnacle
Bank’s claims against the Debtor far exceed the value of its collateral (including the subject cake
mixes). As such, there is no remaining value in the cake mixes for Movant.
       Fair Market Value:            $4.2 million (est. value of all Pinnacle Bank’s collateral)
       Liens (Mortgages):            $13,705,552.36
       Net Equity:                   $0.00
       Source/Basis of Value:        Appraisal and A/R (attached)

(7) Amount of Debtor’s Estimated Equity (using figures from paragraph 6, supra). None.




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(8) Month and Year in Which First Direct Post-petition Payment Came Due to Movant (if
applicable). Not applicable.

(9)    (a) For Movant/Lienholder (if applicable): List or attach a list of all post-petition
       payments received directly from debtor(s), clearly showing date received, amount, and
       month and year for which each such payment was applied. Not applicable.

       (b) For Objecting Party (if applicable): List or attach a list of all post-petition payments
       included in the Movants list from (a) above which objecting party disputes as having been
       made. Attach written proof of such payment(s) or a statement as to why such proof is not
       available at the time of filing this objection. No postpetition payment received.

(10) Month and Year for Which Post-petition Account of Debtor(s) is Due as of the Date of this
Motion: Not applicable. Loan accelerated prepetition.

Date: December 20, 2021                      /s/ Reid E. Dyer
                                             David B. Wheeler (SC DCID No. 4601)
                                             Reid E. Dyer (SC DCID No. 10723)
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                           UNITED STATES BANKRUPTCY COURT
                              DISTRICT OF SOUTH CAROLINA

 IN RE:                                         )
                                                )          CASE NO. 21-02909-hb
 THE MUFFIN MAM, INC.,                          )
                                                )                Chapter 7
                       Debtor.                  )
                                                )

                                  CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on the 20th day of December, a copy of the

OBJECTION         TO   CREATIVE      BAKERY    SOLUTIONS,    LLC’S    (A)    NOTICE   OF

RECLAMATION AND (B) AMENDED MOTION FOR RELEIF FROM THE AUTOMATIC

STAY and CERTIFICATION OF FACTS were served via CM/ECF on the parties listed on the

following page.

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Murray Stokely Holder on behalf of Creditor Garrett & Garrett Warehouses LLC and Garrett
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